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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 WILLIAMSON PENN LITTLE,                                 Case No.: 2:20-cv-01964-APG-NJK

 4          Plaintiff                                   Order Granting Motion for Extension of
                                                                       Time
 5 v.
                                                                       [ECF No. 27]
 6 TIERRA LAYNE BAER-WARNDAHL, an
   individual; WESLEY DAY, M.D., an
 7 individual,

 8          Defendants

 9         The plaintiff’s motion for extension of time (ECF No. 27) is GRANTED. The deadline

10 for plaintiff to file a response to the pending motion to dismiss is extended to January 6, 2021.

11         DATED this 30th day of December, 2020.

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                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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